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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    FRANCHISE GROUP, INC., et al.,1                            Case No. 24-12480 (LSS)

                                 Debtors.                      (Jointly Administered)



                                          AFFIDAVIT OF SERVICE

       I, Ishrat Khan, depose and say that I am employed by Kroll Restructuring Administration
LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
cases.

        On March 27, 2025, at my direction and under my supervision, employees of Kroll
caused the following documents to be served by the method set forth on the Core/2002 Service
List attached hereto as Exhibit A:

            Notice of Filing of Plan Supplement [Docket No. 1182] (the “Plan Supplement”)

            Fee Examiner’s Final Report Regarding First Interim Fee Application Request of Perella
             Weinberg Partners LP [Docket No. 1188]




1
  The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification numbers,
to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
(8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
(5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet, LLC
(n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group
Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968),
Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate
BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor Acquisition, LLC (3490), Vitamin Shoppe
Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe
Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590),
Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco
PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service
Newco, LLC (6414), WNW Franchising, LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP
Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL,
LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located
at 2371 Liberty Way, Virginia Beach, Virginia 23456.
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       On March 27, 2025, at my direction and under my supervision, employees of Kroll
caused the Plan Supplement to be served by the method set forth on the Contract Counterparties
Service List attached hereto as Exhibit B.

Dated: April 25, 2025
                                                                  /s/ Ishrat Khan
                                                                  Ishrat Khan
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on April 25, 2025, by Ishrat Khan, proved to me on
the basis of satisfactory evidence to be the person who executed this affidavit.
/s/ PAUL PULLO
Notary Public, State of New York
No. 01PU6231078
Qualified in Nassau County
Commission Expires November 15, 2026




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                                                                                                                            Exhibit A
                                                                                                                       Core/2002 Service List
                                                                                                                      Served as set forth below

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            Case No. 24‐12480 (LSS)                                                                                         Page 1 of 14
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                                                                                                                                Exhibit A
                                                                                                                           Core/2002 Service List
                                                                                                                          Served as set forth below

                                         DESCRIPTION                                                    NAME                                              ADDRESS                                                 EMAIL          METHOD OF SERVICE


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                                                                                                                           Core/2002 Service List
                                                                                                                          Served as set forth below

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                                                                                                                      Core/2002 Service List
                                                                                                                     Served as set forth below

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                                                                                                                               Core/2002 Service List
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                                         DESCRIPTION                                                         NAME                                              ADDRESS                                                EMAIL                   METHOD OF SERVICE

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                                         DESCRIPTION                                                     NAME                                               ADDRESS                                        EMAIL       METHOD OF SERVICE

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                                                                                                                               Core/2002 Service List
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                                                                                                                      Core/2002 Service List
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                                                                                                                         1313 N Market Street, Suite 400
U.S. Attorney for the District of Delaware                                  U.S. Attorney for Delaware                   Wilmington DE 19801                                                                              First Class Mail

                                                                                                                         Secretary of the Treasury
                                                                            U.S. Securities and Exchange Commission ‐    100 F. Street NE
Securities and Exchange Commission                                          Headquarters                                 Washington DC 20549                                           secbankruptcy@sec.gov              First Class Mail and Email

                                                                                                                         Attn: Geoffrey J. Peters
                                                                                                                         5475 Rings Road
                                                                                                                         Suite 200
Counsel to Sangamon North LLC, the Commons at Southpark LLC                 Weltman, Weinberg & Reis Co. LPA             Dublin OH 43017                                               bronationalecf@weltman.com         Email

                                                                                                                         Attn: Bojan Guzina
                                                                                                                         111 S. Wacker Dr., Suite 5100
Counsel to the Second Lien Secured Parties; HoldCo Lenders                  White & Case LLP                             Chicago IL 60606                                              bojan.guzina@whitecase.com         First Class Mail and Email
                                                                                                                                                                                       cshore@whitecase.com
                                                                                                                         Attn: J. Christopher Shore, Samuel P. Hershey, Andrew Zatz,   sam.hershey@whitecase.com
                                                                                                                         Erin Smith, Brett Bakemeyer                                   azatz@whitecase.com
                                                                                                                         1221 Avenue of the Americas                                   erin.smith@whitecase.com
Counsel to Ad Hoc Group of Freedom Lenders                                  White & Case LLP                             New York NY 10020‐1095                                        brett.bakemeyer@whitecase.com      Email




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                                                                                                                      Core/2002 Service List
                                                                                                                     Served as set forth below

                                        DESCRIPTION                                              NAME                                               ADDRESS                                               EMAIL      METHOD OF SERVICE

                                                                                                                           Attn: Thomas Lauria
Counsel to the Second Lien Secured Parties; HoldCo Lenders, Ad Hoc Group of                                                200 South Biscayne Boulevard, Suite 4900
Freedom Lenders                                                               White & Case LLP                             Miami FL 33131                                               tlauria@whitecase.com     First Class Mail and Email

                                                                                                                           Attn: Edmon L. Morton, Matthew B. Lunn, Allison S. Mielke,
                                                                                                                           Shella Borovinskaya                                          emorton@ycst.com
                                                                                                                           Rodney Square                                                mlunn@ycst.com
                                                                                                                           1000 N. King Street                                          amielke@ycst.com
Counsel to Debtors and Debtors In Possession                                  Young Conaway Stargatt & Taylor, LLP         Wilmington DE 19801                                          sborovinskaya@ycst.com    Email




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                                                                                                                                                      Exhibit B
                                                                                                                                          Contract Counterparties Service List
                                                                                                                                               Served as set forth below



AddressID   Name                                                     Address1                                       Address2                                          Address3                                 Address4               City              State   PostalCode   Country   Email                   Method of Service
30282141    1 Haul Takes It All                                      500 Catawba Trail                                                                                                                                                Lima              OH      45806                                          First Class Mail
29776578    1584 Flatbush Avenue Partners, LLC                       539 Eastern Parkway Third Floor,                                                                                                                                 Brooklyn          NY      11216                                          First Class Mail
30282208    1st Choice Home Furnishings of Baton Rouge, LLC          662 Howard Avenue                                                                                                                                                Biloxi            MS      39530                                          First Class Mail
30282209    1st Choice Home Furnishings of Donaldsonville, LLC       662 Howard Avenue                                                                                                                                                Biloxi            MS      39530                                          First Class Mail
29783815    A360 Enterprises, LLC                                    4600 W. 77th Street Suite 295                                                                                                                                    Edina             MN      55435                                          First Class Mail
29776643    AEI National Income Property Fund VII, LP                1300 Wells Fargo Place                                                                                                                                           Saint Paul        MN      55101                                          First Class Mail
30282142    All Purpose Hauling and Removing LLC                     3218 Lincoln Street                                                                                                                                              Lorain            OH      44052                                          First Class Mail
29783874    Alturas Metro Towne Center LLC                           500 E. Shore Dr                                Suite 120                                                                                                         Eagle             ID      83616                                          First Class Mail
30282143    American Express Travel Related Services Company, Inc.   200 Vesey Street                                                                                                                                                 New York          NY      10285                                          First Class Mail
29776674    American First Finance Inc.                              PO BOX 565848                                                                                                                                                    Dallas            TX      75356                                          First Class Mail
29790364    American First Finance, LLC                              8585 N. Stemmons Fwy, Suite N‐1000                                                                                                                               Dallas            TX      75247                                          First Class Mail
29776685    Angle Gully LLC                                          c/o Newcastle Retail Management LLC            150 North Michigan Ave.                                                                                           Chicago           IL      60601                                          First Class Mail
29790370    Asset Strategies Group, LLC                              501 West Schrock Road                                                                                                                                            Westerville       OH      43081                                          First Class Mail
29790371    Assurant Service Protection, Inc.                        11222 Quail Roost Drive                                                                                                                                          Miami             FL      33157                                          First Class Mail
29486461    Atlanticus Services Corporation                          Attn: David Caruso, Chief Commercial Officer   Five Concourse Parkway, Suite 300                                                                                 Atlanta           GA      30328                                          First Class Mail
29790372    ATLAS SECURITY SERVICE, INC.                             1309 E. Republic Road                                                                                                                                            Springfield       MO      65804                                          First Class Mail
30282144    Baker Bunch Inc.                                         15348 9th Ave.                                                                                                                                                   Phoenix           IL      60426                                          First Class Mail
30282134    bb BHF Stores LLC                                        552 Wisconsin Street                                                                                                                                             San Francisco     CA      94107                                          First Class Mail
30282145    BC Dedliveries LLC                                       1712 Peardale Rd                                                                                                                                                 Columbus          OH      43229                                          First Class Mail
30282146    BCDC Portfolio Owner LLC                                 c/o Oak Street Capital, LLC                    Attn: Heba Elayan                                 30 N. LaSalle St., Suite 4140                                   Chicago           IL      60602                                          First Class Mail
30282270    BCDC Portfolio Owner LLC                                 Kelley Drye & Warren LLP                       Attn: Robert L. LeHane                            3 World Trade Center                     175 Greenwich Street   New York          NY      10007                                          First Class Mail
30282148    BCHQ Owner LLC                                           c/o Oak Street Capital, LLC                    Attn: Heba Elayan                                 30 N. LaSalle St., Suite 4140                                   Chicago           IL      60602                                          First Class Mail
                                                                                                                                                                                                                                                                                       rlehane@kelleydrye.com,
29904555    BCHQ Owner LLC                                           c/o Kelley Drye & Warren LLP                   Attn: Robert L. LeHane                            3 World Trade Center                     175 Greenwich Street   New York          NY      10007                  salceus@kelleydrye.com First Class Mail and Email
30282150    Big Buddy's Moving Company LLC                           7870 Axton Rd.                                                                                                                                                   Axton             VA      24054                                          First Class Mail
30282151    Big Burns Moving LLC                                     3140 Jackson Dr                                                                                                                                                  Holiday           FL      34691                                          First Class Mail
30282210    Bi‐Rite Holdings, LLC                                    662 Howard Avenue                                                                                                                                                Biloxi            MS      39530                                          First Class Mail
30282152    Brown's Moving & Delivery Service LLC                    623 Steger Drive                                                                                                                                                 Duncanville       TX      75116                                          First Class Mail
29776836    Bryn Mawr Plaza Associates                               c/o Baker Properties Inc.                      One Town Place, Suite 100                                                                                         Bryn Mawr         PA      19010                                          First Class Mail
29784049    Buddy Mac Holdings, LLC                                  400 E Centre Park Blvd., Suite 101                                                                                                                               Desoto            TX      75115                                          First Class Mail
30282211    Buddy’s Rollco, LLC                                      662 Howard Avenue                                                                                                                                                Biloxi            MS      39530                                          First Class Mail
30282153    Buddy's Northwest, LLC                                   c/o Vintage Partners                           4705 S. Apopka Vineland Road, Suite 210                                                                           Orlando           FL      32819                                          First Class Mail
30282154    Buddy's Northwest, LLC                                   Davis Gillet Mottern & Sims LLC                Attn: Jerry Sims                                  1230 Peachtree Street N.E., Suite 2445                          Atlanta           GA      30309                                          First Class Mail
29776841    Buxton Company, LLC                                      2651 South Polaris Drive                                                                                                                                         Fort Worth        TX      76137                                          First Class Mail
30282155    Care N Errands, LLC                                      2345 Maxon Road Extension                                                                                                                                        Schenectady       NY      12308                                          First Class Mail
30282156    Cates Moving LLC                                         205 Westside Dr.                                                                                                                                                 Tullahoma         TN      37388                                          First Class Mail
29790664    Causeway Square, LLC                                     1801 NE 123rd St.                                                                                                                                                Miami             FL      33181                                          First Class Mail
29776884    Chalet East, Inc.                                        22936 NE 15th Place                                                                                                                                              Sammamish         WA      98074                                          First Class Mail
30282157    Chuck's Delivery Services LLC                            1545 W 44th Street                                                                                                                                               Erie              PA      16509                                          First Class Mail
30282135    Concur Technologies, Inc.                                62157 COLLECTIONS CENTER DRIVE                                                                                                                                   Chicago           IL      60693                                          First Class Mail
29790396    Connectria, LLC                                          10845 Olive Blvd.                                                                                                                                                St. Louis         MO      63141                                          First Class Mail
29790403    CVB, Inc. (Malouf)                                       1525 West 2960 South                                                                                                                                             Nibley            UT      84321                                          First Class Mail
30282158    Cylindo LLC                                              44 Tehama Street                                                                                                                                                 San Francisco     CA      94105                                          First Class Mail
30282159    Daryl Trumpy SP                                          199 Peaks Point                                                                                                                                                  Milton            KY      40045                                          First Class Mail
30282160    DMCK Installation Inc.                                   942 N Marquette St                                                                                                                                               Davenport         IA      52804                                          First Class Mail
30282136    DocuSign, Inc                                            221 Main Street, Suite1000                                                                                                                                       San Francisco     CA      94105                                          First Class Mail
29486469    DP Contour, LLC                                          Attn: Rich Funke or Paul McClintock            511 W. French Place                                                                                               San Antonio       TX      78212                  rich@dpr‐group.com      First Class Mail adnd Email
30282161    Ellis Moving Company                                     3200 California Ave.                                                                                                                                             Pittsburgh        PA      15212                                          First Class Mail
29790411    ENA SOLUTIONS INC.                                       622 5 Avenue S.W.                                                                                                                                                City of Calgary   AB                   Canada                            First Class Mail
29790412    enVista Interactive Solutions, LLC                       11555 N. Meridian Street                                                                                                                                         Carmel            IN      46032                                          First Class Mail
29790417    Federal Warranty Service Corporation                     260 Interstate North Circle                                                                                                                                      Atlanta           GA      30339                                          First Class Mail
29790418    Federal Warranty Service Corporation                     260 Interstate North Circle, SE                                                                                                                                  Atlanta           GA      30339                                          First Class Mail
30282162    Fire Movers of Raleigh LLC                               401 Point View Court                                                                                                                                             Wilmington        NC      28411                                          First Class Mail
30282163    FM Integrated                                            15974 Frederick Road                                                                                                                                             Woodbine          MD      21797                                          First Class Mail
30282138    FreedomPay, Inc.                                         100 Matsonford Road, Building 5, Suite 100                                                                                                                       Radnor            PA      19087                                          First Class Mail
30282164    Full Faith Moving Services, LLC                          1537 Salt Spring Road                                                                                                                                            Youngstown        OH      44509                                          First Class Mail
29486467    FullContact, Inc.                                        Attention: Legal Department                    1580 N. Logan St.                                 Ste. 660 PMB 45057                                              Denver            CO      80203                  legal@fullcontact.com   First Class Mail adnd Email
30282165    Gearhearts Moving & Storage Inc.                         812 N 7th Ave.                                                                                                                                                   Altoona           PA      16601                                          First Class Mail
29790430    Gexa Energy, LP                                          601 Travis St.                                                                                                                                                   Houston           TX      77002                                          First Class Mail
29790436    Granite Telecommunications, LLC                          100 Newport Avenue Extension                                                                                                                                     Quincy            MA      02171                                          First Class Mail
29784418    HAMC College Center LLC                                  c/o Colliers International                     3 Park Plaza, Suite 1200                                                                                          Irvine            CA      92614                                          First Class Mail
30282166    Herlihy Moving and Storage Inc.                          747 Marietta Rd.                                                                                                                                                 Chillicothe       OH      45601                                          First Class Mail
30282167    HireRight, LLC                                           3349 Michelson Dr, Suite 150                                                                                                                                     Irvine            CA      92612                                          First Class Mail
30282168    Hudson Hot Shots Moving LLC                              8619 Bolton Ave.                                                                                                                                                 Hudson            FL      34667                                          First Class Mail
29784501    Insight Global, LLC                                      4170 Ashford Dunwoody Road, Suite 250                                                                                                                            Atlanta           GA      30319                                          First Class Mail
30282169    ISG Transportation LLC                                   194 Rock Terrace Circle                                                                                                                                          Helena            AL      35080                                          First Class Mail
30282170    Jack Rabbit Transportation, LLC                          505 Frederick Ave                                                                                                                                                Las Vegas         NV      89106                                          First Class Mail
30282171    Jason's Delivery SP                                      7718 Teal Glen Dr.                                                                                                                                               Mooringsport      LA      71060                                          First Class Mail
30282212    Jenkins Rental LLC                                       2 Steeplechase Trail                                                                                                                                             Longview          TX      75605                                          First Class Mail
30282172    JJ Global Solutions Corp                                 6868 Washington Ave. S                                                                                                                                           Eden Prairie      MN      55344                                          First Class Mail
30282173    JN Harris Enterprises, LLC                               4624 Warrensville Center Road                                                                                                                                    North Randall     OH      44128                                          First Class Mail
30282213    Joseph Gazzo                                             662 Howard Avenue                                                                                                                                                Biloxi            MS      39530                                          First Class Mail




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                                                                                                                                                  Contract Counterparties Service List
                                                                                                                                                       Served as set forth below



AddressID   Name                                                                         Address1                          Address2                                         Address3                             Address4   City               State   PostalCode   Country   Email   Method of Service
30282174    K&M Moving and Logistics LLC                                                 1727 Brookhurst Way                                                                                                                Grants Pass        OR      97527                          First Class Mail
29777312    Kamerade Group, LLC                                                          58 Brookfield Lenox Road                                                                                                           Tifton             GA      31794                          First Class Mail
29784558    KAPPA Investments LLC                                                        1099 Jefferson Drive West                                                                                                          Forest             VA      24551                          First Class Mail
29777334    KIN Properties, Inc.                                                         Attn: General Counsel             185 NW Spanish River Blvd., Suite 100                                                            Boca Raton         FL      33431                          First Class Mail
30282175    Knight and Day Delivery                                                      104 Pinewood Sq.                                                                                                                   Pittsburgh         PA      15235                          First Class Mail
30282176    Korpack, Inc.                                                                290 Madsen Drive                                                                                                                   Bloomingdale       IL      60108                          First Class Mail
30282177    Kroll Information Assurance, LLC                                             55 East 52nd Street, 31st Floor                                                                                                    New York           NY      10055                          First Class Mail
29784626    Lahaina Gateway Property Owner, L.P.                                         5743 Corsa Avenue                 Suite 215                                                                                        Thousand Oaks      CA      91362                          First Class Mail
29790884    Lustig Realty Corp                                                           312 Washington Street                                                                                                              Ethel              LA      70730                          First Class Mail
30282178    M&M Trucking 7                                                               820 Hawkins Blvd, Ste O                                                                                                            El Paso            TX      79915                          First Class Mail
30282179    Mason Dixon Movers, LLC                                                      4790 Tom Cat Rd.                                                                                                                   Gadsden            AL      35903                          First Class Mail
29784732    McGriff Insurance Services, Inc.                                             4309 Emperor Blvd, Ste 300                                                                                                         Durham             NC      27703‐8046                     First Class Mail
30282180    MDJ Logistica LLC                                                            300 Crabapple Lane                                                                                                                 Beaver Falls       PA      15010                          First Class Mail
29790466    MEDIA WORKS, LTD.                                                            1425 Clarkview Road                                                                                                                Baltimore          MD      21209                          First Class Mail
30282382    MicroStrategy Services Corporation                                           1850 Towers Crescent Plaza                                                                                                         Tysons Corner      VA      22182                          First Class Mail
30282181    Mightee Movers LLC                                                           102 Arlington Heights Dr.                                                                                                          Lynchburg          VA      24501                          First Class Mail
30282182    Mike Albert, LLC                                                             90 Lighthouse Point Road                                                                                                           Longboat Key       FL      34228                          First Class Mail
29777484    Milliman, Inc.                                                               150 Clove Rd, 10th Fl                                                                                                              Little Falls       NJ      07424                          First Class Mail
30282214    MMS Group, LLC                                                               662 Howard Avenue                                                                                                                  Biloxi             MS      39530                          First Class Mail
30282183    Moovin & Groovin LLC                                                         2105 Neptune Court                                                                                                                 Bartlesville       OK      74006                          First Class Mail
29790476    NISC UBP, LLC                                                                3131 Technology Drive NW                                                                                                           Mandan             ND      58554                          First Class Mail
29790477    NISC UBP, LLC dba Capturis                                                   3131 Technology Drive NW                                                                                                           Mandan             ND      58554                          First Class Mail
30282184    NNN REIT, LP                                                                 Attn: David G. Byrnes, Jr.        450 S. Orange Avenue                                                                             Orlando            FL      32801                          First Class Mail
29790481    Oak Forest Group, LTD                                                        P.O. Box 3449                                                                                                                      Longview           TX      75606                          First Class Mail
29790482    ODP Business Solutions, LLC                                                  6600 North Military Trail                                                                                                          Boca Raton         FL      33496                          First Class Mail
29790485    On Demand Technologies, Inc. (d/b/a OneRail)                                 8427 Southpark Circle SW                                                                                                           Orlando            FL      32819                          First Class Mail
30282185    OneTrust                                                                     1200 Abernathy Rd NE, Bldg 600                                                                                                     Atlanta            GA      30328                          First Class Mail
30282139    Onix Networking Corp                                                         485 Lexington Avenue                                                                                                               New York           NY      10017                          First Class Mail
29790486    Onix Networking Corp.                                                        1991 Crocker Road                                                                                                                  Westlake           OH      44145                          First Class Mail
30282140    OnPoint Warranty Solutions LLC                                               1400 Main St., Suite 132                                                                                                           Clarksville        IN      47129                          First Class Mail
30282186    OSOT Transportation LLC                                                      3929 Baumberger Rd                                                                                                                 Stow               OH      44224                          First Class Mail
30282187    Pendleton Expediting, Inc.                                                   13201 E Orell Rd.                                                                                                                  Louisville         KY      40272                          First Class Mail
30282188    Races Working Men, RTR Inc.                                                  1619 Archer City Hwy 79                                                                                                            Wichita Falls      TX      76302                          First Class Mail
29791015    Regency Centers Corporation                                                  One Independent Drive                                                                                                              Jacksonville       FL      32202                          First Class Mail
29790498    Retail Logistics Excellence ‐ RELEX Oy                                       Postintaival 7                                                                                                                     Helsinki                   230          Finland           First Class Mail
29791018    RetailNext, Inc.                                                             60 S. Market St.                                                                                                                   San Jose           CA      95113                          First Class Mail
30282189    Ring Central, Inc.                                                           20 Davis Drive                                                                                                                     Belmont            CA      94002                          First Class Mail
29777806    Riskified Inc.                                                               220 5th Avenue, 2nd Floor                                                                                                          New York           NY      10001                          First Class Mail
30282190    Roe Lawn Care, SP                                                            117 E 11th Street                                                                                                                  Elmira Heights     NY      14093                          First Class Mail
29785129    Rosebud VS Boca One, LLC                                                     c/o Investments Limited           215 North Federal Highway, Suite 1                                                               Boca Raton         FL      33432                          First Class Mail
30282191    Shops at Rayford Crossing LLC                                                c/o Willmann Companies            Attn: Karl D. Willman                            9601 Katy Freeway, Suite 480                    Houston            TX      77024                          First Class Mail
29785208    SignUp Software Inc.                                                         3500 South DuPont Highway                                                                                                          Dover              DE      19901                          First Class Mail
30282192    SITS, LLC                                                                    35 Olympic Dr                                                                                                                      South Barrington   IL      60010                          First Class Mail
29791318    SK Global Software LLC                                                       940 Gemini Street                                                                                                                  Houston            TX      77058                          First Class Mail
30282193    Small Movers LLC                                                             6178 Howdershell Road                                                                                                              Hazelwood          MO      63042                          First Class Mail
30282194    Solstice Sleep Products, Inc.                                                3720 W Broad Street                                                                                                                Columbus           OH      43228                          First Class Mail
29777924    Spark Communications Group, LLC                                              P.O. Box 49745                                                                                                                     Athens             GA      30604                          First Class Mail
30282195    Spark Data Solutions Inc                                                     26077 Nelson Way, Suite 1102                                                                                                       Katy               TX      77494                          First Class Mail
29777937    SPS Commerce                                                                 333 South Seventh Street          Suite 1000                                                                                       Minneapolis        MN      55402                          First Class Mail
30282196    Starting A New LLC                                                           3157 O'Neal Lane                                                                                                                   Baton Rouge        LA      70816                          First Class Mail
29785287    Store Master Funding IV, LLC                                                 8501 E Princess Drive                                                                                                              Scottsdale         AZ      85255                          First Class Mail
30282434    Store Master Funding IV, LLC                                                 Kutak Rock LLP                    Attn: Whitney A. Kopicky, Esq.                   1801 California Street, Suite 3000              Denver             CO      80202                          First Class Mail
29785290    SUGARLAND PLAZA INC.                                                         165 SOUTH LEE ST, SUITE 100                                                                                                        LABELLE            FL      33935                          First Class Mail
29785297    Sun Life Assurance Company of Canada                                         MetroNorth Retail Center          3344 Peachtree Road, Suite 1200                                                                  Atlanta            GA      30326                          First Class Mail
29777991    T Voorhees GPL NJ, LLC, T Voorhees BER NJ, LLC, and T Voorhees AMC NJ, LLC   16600 Dallas Parkway              Suite 300                                                                                        Dallas             TX      75248                          First Class Mail
30282197    TALX Corporation                                                             11432 Lackland Road                                                                                                                St. Louis          MO      63146                          First Class Mail
30282198    The Home Moving Solutions LLC                                                1209 N Slappey Blvd., Suite B                                                                                                      Albany             GA      31701                          First Class Mail
30282199    The Transport Boss LLC                                                       9855 E Coronado Dr                                                                                                                 Baton Rouge        LA      70815                          First Class Mail
29785371    The Ultimate Software Group Inc.                                             2000 Ultimate Way                                                                                                                  Weston             FL      33326                          First Class Mail
30282200    Thomson Reuters Inc.                                                         P.O. Box 115008                                                                                                                    Carrolton          TX      75011‐5008                     First Class Mail
30282201    Tmakit Moving Company, LLC                                                   5860 Russell Topton Rd.                                                                                                            Toomsuba           MS      39364                          First Class Mail
30282202    Tri‐County Movers SP                                                         PO Box 7716452                                                                                                                     Ocala              FL      34477                          First Class Mail
30282474    UKG Inc                                                                      Attn: General Counsel             2000 Ultimate Way                                                                                Weston             FL      33326                          First Class Mail
30282137    United Parcel Service, Inc.                                                  700 W 16th Street                                                                                                                  Indianapolis       IN      46202                          First Class Mail
29790527    United Service Protection, Inc.                                              11222 Quail Roost Drive                                                                                                            Miami              FL      33157                          First Class Mail
29778110    Vantage One Tax Solutions, Inc.                                              6310 LBJ Freeway, STE. 208                                                                                                         Dallas             TX      75240                          First Class Mail
29790528    Vantage One Tax Solutions, Inc.                                              6310 LBJ Freeway                                                                                                                   Dallas             TX      75240                          First Class Mail
30282203    Varis, LLC                                                                   6600 N. Military Tr.                                                                                                               Boca Raton         FL      33496                          First Class Mail
29778113    Ventura Petit LLC and La Cienga Shopping Center Development LLC              2121 Avenue of the Stars          Ste. 1100                                                                                        Los Angeles        CA      90067                          First Class Mail
29785459    VF9 MATT2 LLC                                                                2330 Ponce de Leon Blvd.                                                                                                           Miami              FL      33134                          First Class Mail
30282204    White Glove Delivery & Moving LLC                                            57477 Goodman Dr.                                                                                                                  Colcord            OK      74338                          First Class Mail
30282205    Worry Free Moving Inc.                                                       1421 Turnberry Dr                                                                                                                  Youngstown         OH      44512                          First Class Mail




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                                                                                                Served as set forth below



AddressID   Name                                    Address1                  Address2                               Address3         Address4   City           State   PostalCode   Country   Email   Method of Service
29785533    Wrike, Inc.                             9171 Towne Center Drive                                                                      San Diego      CA      82122                          First Class Mail
29785534    WSG Arundel One LLC                     75 Hook Road,                                                                                Bayonne        NJ      07002                          First Class Mail
30282206    Xpress Delivery 2U                      2406 Pine Street                                                                             Texarkana      TX      75503                          First Class Mail
30282207    YTC Movers LLC                          760 Star Ridge Street                                                                        Massillon      OH      44646                          First Class Mail
29778203    ZipRecruiter Inc.                       604 Arizona Avenue                                                                           Santa Monica   CA      90401                          First Class Mail




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